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                               EXHIBIT 5
          Case 2:21-cv-10163-GAD-APP ECF No. 28-6, PageID.1113 Filed 02/19/21 Page 2 of 3

                                                                                                                            PRICE QUOTE


                                                                                                                                             Quote 21434
                                                                                                                   Quote Date: Jul 07, 2020
                                                                                                               Quote Expiration: July 31, 2020
                                                                                                                  Sales Rep: Detroit IT Sales


       Company:                                           Ship To:                                                Bill To:

       Detroit Axle                                       Detroit Axle                                            Detroit Axle
       2000 Eight Mile Road                               2000 Eight Mile Road                                    2000 Eight Mile Road
       Ferndale, MI 48220 US                              Ferndale, MI 48220 US                                   Ferndale, MI 48220 US



                                                Item                                                      Price                 Qty             Subtotal

            Lenovo E15 15.6" Laptop                                                                          $                        1             $
       (i5/8GB/256GB/1YR)


                                                                                                                                  Subtotal           $

                                                                                                                                     Total         $699.00

     Ticket #N/A - New HR Laptop

     AGREED TO AND ACCEPTED:




                                  07/07/2020
     ___________________________ _____________________

     50% Due Upon Acceptance. This quote does not include shipping and tax. This quote is subject to the Terms and Conditions found on our website

     (www.detroitit.com/terms). These terms are considered to be the most recent and take precedent over any other previously written or implied terms and

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                      Signature Certificate
                 Document Ref.: RQRAE-R2ALW-OFOZS-JUVJ6

   Document signed by:

                    Luis Fonseca
                    Verified E-mail:
                    lfonseca@detroitaxle.com

                    IP: 12.200.188.130      Date: 07 Jul 2020 13:20:17 UTC



                        Document completed by all parties on:
                            07 Jul 2020 13:20:17 UTC
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